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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-84(PLF)
v.
: VIOLATIONS:
CODY PAGE CARTER CONNELL, and :  18U.S.C. § 231(a)(3)
DANIEL PAGE ADAMS, : (Civil Disorder)
: 18U,S.C. §§ 1512(c)(2), 2
Defendants. : (Obstruction of an Official Proceeding)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS committed and attempted to commit an act to

obstruct, impede, and interfere with a law enforcement officer, that is, an officer from the United
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States Capitol Police, lawfully engaged in the lawful performance of his official duties, incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, CODY PAGE
CARTER CONNELL and DANIEL PAGE ADAMS attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, specifically
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the
Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS, did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), that is, an officer
from the United States Capitol, while such person was engaged in and on account of the
performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS, did unlawfully and knowingly enter and remain in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS, did knowingly, and with intent to impede and disrupt
the orderly conduct of Government business and official functions, engage in disorderly and
disruptive conduct in and within such proximity to, a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS, willfully and knowingly engaged in disorderly and
disruptive conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
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in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS, willfully and knowingly obstructed, and impeded
passage through and within, the United States Capitol Grounds and any of the Capito] Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, CODY PAGE CARTER
CONNELL and DANIEL PAGE ADAMS, willfully and knowingly paraded, demonstrated, and
picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Mg Toa M: Bowe
Attorney of the United States in
and for the District of Columbia.
